Case 4:18-cv-02096-JMS-DLP Document 11-2 Filed 10/19/18 Page 1 of 6 PagelD #: 66

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IN “THE SOUTHERN Dre7RIcT OP ENRTAN A

LUNITED STATES OF AMERICA,
/ Respond ont |
| vs)
| Donne EvGen€ Gnneg Je .,| 4:13 -cv-02096-JRS-OLP
f Petitioner |
/

 

 

 

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ANSWER. To NOB)

 

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